Case 1:18-Cr-OOO72-WTL-I\/|.]D Document 7 Filed 03/13/18 Page 1 of 1 Page|D #: 17

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`»\ ‘ §§ viz
UNITED STATES DISTRICT COURT § §LE-L§;S
SOUTHERN DISTRICT OF INDIANA vii § d m
INDIANAPOLIS DlVlSlON "`.»..@t~#; g 3 ;;jm§

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UNITED STATES oF AMERICA, ) z ?ND'"ANA
)
Plaintiff, )
)
v. ) CAUsE No.
NoRMANBURGEss, § 12 38 -cI“=-UQWZWTL -MJD
Defendant. )

PENALTY SHEET

You have been charged in an lndictment With a violation of the Laws of the United States
of America. The maximum penalties are as follows:

 

Count Supervised
Number Statute Years Fine Release
l-6 18 U.S.C. §§ 1343 and 2 ()-20 $250,00() NMT 3 years
Wire Fraud
Dated:

 

Norman Burgess
Defendant

l certify that the Defendant Was advised of the maximum penalties in the manner set forth
above and that he signed (or refused to sign) the acknowledgement

 

United States Magistrate Judge
Southern District of Indiana

